                                 OPINION
The instant appeal has been taken from a final judgment of the Lake County Court of Common Pleas. Appellant, the State of Ohio, seeks the reversal of the trial court's decision to dismiss the sexual predator proceedings filed in relation to appellee, Ralph Christison.
In December 1996, appellee entered a plea of guilty to one count of attempted rape under R.C. 2907.02 and 2923.02. Upon accepting the plea, the trial court sentenced appellee to an indefinite term of three to fifteen years; however, the court suspended the sentence and placed appellee on probation for two years.
In May 1997, a hearing was held to determine if appellee should be adjudicated as a sexual predator under R.C. Chapter 2950. Initially, the trial court found that appellee was an "other sexual offender" under the statutes. Nevertheless, after appellee had so moved, the trial court dismissed the sexual predator proceeding on the basis that R.C. Chapter 2950 could not be applied retroactively to appellee.
Under its sole assignment, appellant contends that the trial court's constitutional analysis was flawed. As to this point, the Supreme Court of Ohio has held that the sexual predator laws do not violate the Ex Post Facto Clause of the United States Constitution or the Retroactivity Clause of the Ohio Constitution.State v. Cook (1998), 83 Ohio St.3d 404, paragraphs one and two of the syllabus.
However, subsequent to Cook, a majority of this court has held that R.C. Chapter 2950 is unconstitutional on other grounds.State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported. Although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal. Accordingly, the judgment of the trial court is affirmed. _______________________________________ PRESIDING JUDGE DONALD R. FORD
NADER, J.,
O'NEILL, J., concur.